     Case 3:16-cv-01696-W-NLS Document 82 Filed 11/29/17 PageID.3521 Page 1 of 4


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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11   L. LEE BRIGHTWELL,                                 Case No.: 16-CV-1696 W (NLS)
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT
13   v.                                                 MOTION TO FILE DOCUMENTS
                                                        UNDER SEAL [DOC. 80]
14   THE MCMILLAN LAW FIRM, et al.,
15                                  Defendants.
16
17         Pending before the Court is a joint motion to file documents under seal. [Doc. 80.]
18   The Court decides the matter without oral argument pursuant to Civil Local Rule
19   7.1(d)(1). For the following reasons, the Court GRANTS the joint motion.
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                                                                              16-CV-1696 W (NLS)
     Case 3:16-cv-01696-W-NLS Document 82 Filed 11/29/17 PageID.3522 Page 2 of 4


 1   I.    LEGAL STANDARD
 2         Federal law creates a strong presumption in favor of public access to court records.
 3   But this right of access is not absolute. San Jose Mercury News, Inc. v. U.S. Dist. Court–
 4   N. Dist. (San Jose), 187 F.3d 1096, 1102 (9th Cir. 1999). “Every court has supervisory
 5   power over its own records and files[,]” and may provide access to court documents at its
 6   discretion. See Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995) (quoting
 7   Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978)). District courts
 8   therefore have authority to seal and unseal court records, a power that derives from their
 9   inherent supervisory power. See Hagestad, 49 F.3d at 1434.
10         When a district court is asked to seal court records in a civil case, the presumption
11   in favor of access can be overcome by a showing of “sufficiently important
12   countervailing interests.” See San Jose Mercury News, 187 F.3d at 1102. The factors
13   relevant to determining whether this presumption has been overcome include the “
14   ‘public interest in understanding the judicial process and whether disclosure of the
15   material could result in improper use of the material for scandalous or libelous purposes
16   or infringement upon trade secrets.’ ” Hagestad, 49 F.3d at 1434 (quoting EEOC v.
17   Erection Co., Inc., 900 F.2d 168, 170 (9th Cir. 1990). “After taking all relevant factors
18   into consideration, the district court must base its decision on a compelling reason and
19   articulate the factual basis for its ruling, without relying on hypothesis or conjecture.” Id.
20   (citing Valley Broad. Co. v. United States Dist. Court, 798 F.2d 1289, 1295 (9th Cir.
21   1986)).
22         As a natural consequence of the public’s right of access to records in civil cases,
23   the presumption of public access cannot be overcome by a mere stipulation of the parties.
24   As Judge Posner recognized, the district judge is duty-bound to scrutinize any request to
25   seal court documents and therefore “may not rubber stamp a stipulation to seal the
26   record.” Citizens First Nat. Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d 943, 945
27   (7th Cir. 1999); accord City of Hartford v. Chase, 942 F.2d 130, 136 (1st Cir. 1991)
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                                                                                  16-CV-1696 W (NLS)
     Case 3:16-cv-01696-W-NLS Document 82 Filed 11/29/17 PageID.3523 Page 3 of 4


 1   (“[T]he trial court—not the parties themselves—should scrutinize every such agreement
 2   involving the sealing of court papers and what, if any, of them are to be sealed . . . .”).
 3
 4   II.   DISCUSSION
 5         Parties seek to file twelve exhibits under seal— Defendants’ Exhibits E, F, G, H, I,
 6   K, M, N, O, P, Q, and R. (Joint Mot. [Doc. 80] 7:25–8:25.)
 7         Exhibits E, P, and Q are confidential email correspondences between Plaintiff
 8   Brightwell and Defendant McMillan while McMillan served as Brightwell’s attorney.
 9   (Joint Mot. [Doc. 80] 8:26–9:3.)
10         Exhibits F and K are confidential email correspondences between Scott McMillan
11   and Joshua Heinlein, Plaintiff Brightwell’s current counsel. (Joint Mot. [Doc. 80] 9:4–9.)
12   One discusses the terms of the underlying settlement, and the other discusses strategy as
13   to the underlying matter. (Exhs. F, K [Doc. 81].)
14         Exhibit G is a confidential communication to Plaintiff Brightwell from her former
15   counsel, Josh Gruenberg. (Joint Mot. [Doc. 80] 9:10–14.)
16         Exhibit H are Plaintiff Brightwell’s confidential handwritten notes during her
17   meeting with her then-counsel, Defendant McMillan. (Joint Mot. [Doc. 80] 9:15–20.)
18         Exhibit I constitutes excerpts from the deposition of Plaintiff Brightwell. (Joint
19   Mot. [Doc. 80] 9:21–28.) These pages contain confidential communications between
20   Brightwell and her former attorneys, discussion of strategy in the underlying matter, and
21   details as to Brightwell’s personal financial information. (Id.)
22         Exhibits M, N, and O are confidential communications that contain Brightwell’s
23   personal financial information. (Joint Mot. [Doc. 80] 10:1–3.)
24         Exhibit R is a confidential settlement agreement in the underlying case. (Joint
25   Mot. [Doc. 80] 10:4–7.)
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     Case 3:16-cv-01696-W-NLS Document 82 Filed 11/29/17 PageID.3524 Page 4 of 4


 1          The facts contained within these documents are confidential per a July 18, 2017
 2   Protective Order. (Protective Order [Doc. 52]; Joint Mot. [Doc. 80] 2:1–8.) Disclosure
 3   threatens harmful repercussions to parties’ professional and financial wellbeing.
 4   Sufficiently important countervailing reasons exist to overcome the presumption of
 5   public access. See San Jose Mercury News, 187 F.3d at 1102.
 6          The joint motion will be granted.
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 8   III.   CONCLUSION & ORDER
 9          Parties’ joint motion to file under seal is GRANTED. [Doc. 80.]
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11          IT IS SO ORDERED.
12   Dated: [Date]
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